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 2                                                                      FILED IN THE
                                                                    U.S. DISTRICT COURT
                                                              EASTERN DISTRICT OF WASHINGTON


 3                                                             Apr 15, 2019
                                                                   SEAN F. MCAVOY, CLERK
 4

 5                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WASHINGTON
 6

 7   MILDRED SHANKLIN, individually
     and as Personal Representative of the      NO: 2:17-CV-377-RMP
 8   Estate of John Shanklin,
                                                ORDER GRANTING
 9                            Plaintiff,        DEFENDANTS’ MOTION TO
                                                DISMISS
10         v.

11   COULEE MEDICAL CENTER, a
     medical care facility that is fully
12   owned and operated by the Douglas,
     Grant, Lincoln, & Okanogan County
13   Hospital District No. 6; DOUGLAS,
     GRANT, LINCOLN, and
14   OKANOGAN COUNTIES PUBLIC
     HOSPITAL DISTRICT NO. 6, a
15   public entity doing business as the
     Coulee Medical Center; ROGER ST.
16   CLAIRE, acting in his capacity as an
     employee of Coulee Medical Center;
17   LARRY J. RUSE, acting in his
     capacity as an employee of Coulee
18   Medical Center; JOYCE BODEAU,
     acting in her capacity as an employee
19   of Coulee Medical Center; and
     KARIE SCHULER, acting in her
20   capacity as an employee of Coulee
     Medical Center;
21
                              Defendants.

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 1         BEFORE THE COURT is Defendants’ Motion to Dismiss for Failure to

 2   State a Claim, ECF No. 15. Defendants Coulee Medical Center; Grant, Lincoln, &

 3   Okanogan County Hospital District No. 6; Roger St. Claire; Larry J. Ruse; Joyce

 4   Bodeau; and Karie Schuler move to dismiss Plaintiff Mildred Shanklin’s

 5   Complaint, ECF No. 1. A hearing was held in this matter on March 22, 2019. Ms.

 6   Shanklin was represented by Jerry Moberg. Defendants were represented by

 7   James King. The Court has considered the parties’ arguments, briefing, and the

 8   record, and is fully informed.

 9                                    BACKGROUND

10         The following are the facts as alleged in Ms. Shanklin’s complaint, ECF No.

11   1. Ms. Shanklin is the surviving spouse of John Shanklin. Id. at 4. In May of

12   2014, Ms. Shanklin alleges that Mr. Shanklin suffered a stroke that left him weak

13   on one side of his body. Id. This made Mr. Shanklin a high risk to fall and

14   confined him to a wheelchair at most times. Id. For over a year following Mr.

15   Shanklin’s stroke, Ms. Shanklin cared for him at their home. Id. Ms. Shanklin

16   alleges that Mr. Shanklin did not fall a single time under her care. Id.

17         By May of 2016, Ms. Shanklin alleges that she was unable to provide her

18   husband with the 24-hour care that he needed. ECF No. 1 at 4. She claims that she

19   placed him in a nursing home care facility in a town sixty miles away from Ms.

20   Shanklin’s home for about six months. Id. Throughout those six months, Ms.

21   Shanklin claims that Mr. Shanklin did not fall a single time. Id. However, Ms.


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 1   Shanklin claims that she was unhappy with the distance that she had to travel to see

 2   her husband, so she sought a closer nursing home in which to place Mr. Shanklin.

 3   Id. at 4–5. She alleges that she placed her husband into the care of Defendant

 4   Coulee Medical Center (“CMC”). Id. at 5.

 5           At CMC, Ms. Shanklin alleges that her husband was identified as a patient

 6   with a high risk of falling. ECF No. 1 at 5. According to Ms. Shanklin, however,

 7   CMC and the individual Defendants, who were all responsible for Mr. Shanklin’s

 8   care, failed to or refused to develop a care plan that would protect him from falling.

 9   Id. As a result, Ms. Shanklin alleges that Mr. Shanklin fell four times over a

10   period of four months. Id. at 5–7. Ms. Shanklin claims that Defendants failed to

11   properly supervise Mr. Shanklin to keep him from falling or take precautions to

12   prevent any injury resulting from the falls. Id. Three days after Mr. Shanklin’s

13   fourth fall, Mr. Shanklin passed away. Id. at 7–8.

14           Ms. Shanklin filed this complaint individually and as the personal

15   representative of her husband’s estate against Defendants for violations of the

16   Federal Nursing Home Reform Amendments (“FNHRA”) and several claims under

17   state law. ECF No. 1 at 8–13. Defendants now move to dismiss the complaint,

18   arguing that the FNHRA does not apply to them and that the FNHRA is not

19   enforceable through section 1983. ECF No. 15.

20   / / /

21   / / /


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 1                                   LEGAL STANDARD

 2           After a defendant files its answer, the defendant may move for judgment on

 3   the pleadings.1 Fed. R. Civ. P. 12(c). Similar to a Rule 12(b)(6) motion, the court

 4   accepts all factual allegations in the complaint as true and construes them in the

 5   light most favorable to the non-moving party. Fleming v. Pickard, 581 F.3d 922,

 6   925 (9th Cir. 2009). The analysis for a Rule 12(c) motion is “substantially

 7   identical” to the analysis for a Rule 12(b)(6) motion. Chavez v. United States, 683

 8   F.3d 1102, 1108 (9th Cir. 2012). Judgment on the pleadings is appropriate when

 9   there is no issue of material fact in dispute and the moving party is entitled to

10   judgment as a matter of law. Fleming, 581 F.3d at 925.

11           A plaintiff’s complaint must plead “enough facts to state a claim to relief

12   that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

13   (2007). A claim is plausible when the plaintiff pleads “factual content that allows

14   the court to draw the reasonable inference that the defendant is liable for the

15   misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). While the Court

16   construes the facts in the light most favorable to the non-moving party, a court is

17   not required to “assume the truth of legal conclusions merely because they are cast

18

19   1
       Because Defendants have filed an answer, ECF No. 10, the Court construes
     Defendants’ Motion to Dismiss under Rule 12(b)(6) as a Motion for Judgment on
20   the Pleadings under Rule 12(c). Fed. R. Civ. P. 12(c) (“After the pleadings are
     closed—but not early enough to delay trial—a party may move for judgment on
21
     the pleadings.”).

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 1   in the form of factual allegations.” Fayer v. Vaughn, 649 F.3d 1061, 1064 (9th Cir.

 2   2011) (per curiam) (internal quotation omitted). A plaintiff’s complaint cannot

 3   survive if it is solely supported by “conclusory allegations of law and unwarranted

 4   inferences.” Adams v. Johnson, 355 F.3d 1179, 1183 (9th Cir. 2004).

 5                                      DISCUSSION

 6         Defendants make two arguments as to why Ms. Shanklin’s FNHRA claim

 7   should be dismissed. First, they argue that CMC is not a “nursing facility” that is

 8   regulated by the FNHRA. ECF No. 15 at 4. Second, they argue that the FNHRA

 9   is not enforceable through section 1983 litigation. Id. at 8.

10   Coulee Medical Center’s Status as a Nursing Facility as Defined by the FNHRA

11         The parties dispute whether CMC is a “nursing facility” under the FNHRA.

12   ECF No. 15 at 4; ECF No. 21 at 8.

13         When interpreting a statute, the Court begins with the statute’s text. United

14   States v. Neal, 776 F.3d 645, 652 (9th Cir. 2015). “We interpret statutory terms in

15   accordance with their ordinary meaning, unless the statute clearly expresses an

16   intention to the contrary.” Id.

17         Under the FNHRA, a “nursing facility” is defined as “an institution (or a

18   distinct part of an institution) which (1) is primarily engaged in providing to

19   residents (A) skilled nursing care and related services for residents who require

20   medical or nursing care, (B) rehabilitation services for the rehabilitation of injured,

21   disabled, or sick persons, or (C) on a regular basis, health-related care and services


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 1   to individuals who because of their mental or physical condition require care and

 2   services (above the level of room and board) which can be made available to them

 3   only through institutional facilities, and is not primarily for the care and treatment

 4   of mental diseases; (2) has in effect a transfer agreement (meeting the requirements

 5   of section 1395x(l) of this title) with one or more hospitals having agreements in

 6   effect under section 1395cc of this title; and (3) meets the requirements for a

 7   nursing facility described in subsections (b), (c), and (d) of this section.”2 42

 8   U.S.C. § 1396r(a).

 9           Under this statutory definition, Defendants argue that CMC is not a “nursing

10   facility” because the Centers for Medicare and Medicaid Services (“CMS”)

11   designated CMC as a “critical access hospital” (“CAH”). 3 ECF No. 15 at 6–7.

12   However, under the FNHRA, a nursing facility is defined by the care it provides

13
     2
       The same definition applies to a “skilled nursing facility,” absent subsection
14   (a)(1)(C), in a separate statute. See 42 U.S.C. § 1395i-3(a).
15   3
       In support of this argument, Defendants rely on the Declaration of Ramona
     Hicks, ECF No. 17. Generally, a Court should not consider matters outside the
16   pleadings when considering a motion for judgment on the pleadings. Fed. R. Civ.
     P. 12(d). However, a Court can take judicial notice of facts not subject to
17
     reasonable dispute that are generally known or can be accurately and readily
18   determined from reliable sources. Lee v. City of L.A., 250 F.3d 668, 688–89 (9th
     Cir. 2001); Fed. R. Evid. 201. Defendants argue that Ms. Hicks’s declaration is
19   not subject to reasonable dispute. ECF No. 15 at 7 n.1. Without a basis to
     conclude that the information in Ms. Hicks’s declaration is not subject to
20   reasonable dispute, the Court cannot consider Ms. Hicks’s declaration for the
     purposes of this motion. Therefore, the Court declines to take judicial notice of
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     Ms. Hicks’s declaration and will not consider it to resolve this motion.

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 1   rather than a designation made by a government entity. 42 U.S.C. § 1396r(a).

 2   There is nothing in the text of the FNHRA that precludes a hospital like CMC from

 3   being both a nursing facility and a CAH. See 42 U.S.C. § 1396r. Defendants

 4   argue that proving that CMC is not a nursing facility is essentially asking them to

 5   prove a negative. ECF No. 26 at 4. While that is true, that is the reality of the

 6   judgment on the pleadings standard: the Court must construe all facts in favor of

 7   the non-moving party. Fleming, 581 F.3d at 925. Construing the facts in favor of

 8   Ms. Shanklin, the Court finds that the complaint plausibly alleges that CMC is a

 9   nursing facility under the definition in the FNHRA.

10   The Enforceability of the FNHRA through Section 1983

11         The parties dispute whether the FNHRA is enforceable through a section

12   1983 action. ECF No. 15 at 8; ECF No. 21 at 17.

13         Section 1983 allows a plaintiff to bring actions against people who, under

14   the color of state law, deprive the plaintiff of “any rights, privileges, or immunities

15   secured by the Constitution and laws.” 42 U.S.C. § 1983. However, in order to

16   seek relief under section 1983, “a plaintiff must assert the violation of a federal

17   right, not merely a violation of federal law.” Blessing v. Freestone, 520 U.S. 329,

18   340 (1997) (emphasis in original). To determine whether a federal statute confers

19   a federal right that may be enforced through section 1983, the court considers three

20   factors. First, Congress must have intended the law to benefit the plaintiff. Id.

21   Second, the right must not be so “vague and amorphous” that its enforcement


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 1   would strain judicial competence. Id. at 340–41. Third, the statute must impose a

 2   binding obligation on the states couched in mandatory, rather than precatory,

 3   language. Id.

 4           When the statutory provision in question is enacted pursuant to Congress’s

 5   spending power, the provision provides no basis for section 1983 enforcement

 6   unless Congress speaks with a clear voice and manifests an unambiguous intent to

 7   confer individual rights. Gonzaga Univ. v. Doe, 536 U.S. 273, 280 (2002). “In

 8   legislation enacted pursuant to the spending power, the typical remedy for state

 9   noncompliance with federally imposed conditions is not a private cause of action

10   for noncompliance but rather action by the Federal Government to terminate funds

11   to the State.” Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 28 (1981).

12   Because the FNHRA was enacted pursuant to Congress’s spending power, the

13   ultimate question for the Court is whether Congress spoke with a clear voice and

14   manifested an unambiguous intent to create an individual right. Gonzaga, 536

15   U.S. at 280. If Plaintiff establishes the existence of the individual right, it is

16   presumptively enforceable through section 1983.4 Id. at 283–84.

17

18
     4
      The parties dispute whether Ms. Shanklin was asserting a private right of action
19   or enforcing the statute through section 1983. ECF No. 15 at 8; ECF No. 21 at 17.
     Because Ms. Shanklin asserts that Defendants were acting under color of state law,
20   ECF No. 1 at 11, Ms. Shanklin’s claim is a section 1983 claim. However, as the
     Supreme Court noted in Gonzaga, the individual rights analysis for a claim through
21
     section 1983 and a private right of action is the same. Gonzaga, 536 U.S. at 290. .

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 1         Intent to Benefit the Plaintiff

 2         For a statute to create an enforceable right, the text must be “phrased in

 3   terms of the persons benefited.” Cannon v. Univ. of Chi., 441 U.S. 677, 693 n.13

 4   (1979). Statutes that have an “aggregate” focus and are “not concerned with

 5   whether the needs of any particular person have been satisfied” do not create

 6   individual rights. Gonzaga, 536 U.S. at 288 (internal citations and quotations

 7   omitted). In Gonzaga, the Supreme Court held that the language “[n]o person . . .

 8   shall . . . be subject to discrimination” is the type of “individually focused

 9   terminology” that creates an enforceable federal right. Id. at 287.

10         Ms. Shanklin argues that Defendants violated several subsections of 42

11   U.S.C. § 1396r(b). “A nursing facility must care for its residents in such a manner

12   and in such an environment as will promote maintenance or enhancement of the

13   quality of life of each resident.” 42 U.S.C. § 1396r(b)(1)(A). “A nursing facility

14   must provide services and activities to attain or maintain the highest practicable

15   physical, mental, and psychosocial well-being of each resident in accordance with

16   a written plan of care which-- (A) describes the medical, nursing and psychosocial

17   needs of the rest and how such needs will be met; . . . and (C) is periodically

18   reviewed and revised by such team after each assessment under paragraph (3).” 42

19   U.S.C. § 1396r(b)(2)(A) and (C). “A nursing facility must conduct a

20   comprehensive, accurate, standardized, reproducible assessment of each resident’s

21   functional capacity.” 42 U.S.C. § 1396r(b)(3)(A). “The results of such an


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 1   assessment shall be used in developing, reviewing, and revising the resident’s plan

 2   of care under paragraph (2).” 42 U.S.C. § 1396r(b)(3)(D). “To the extent needed

 3   to fulfill all plans of care described in paragraph (2), a nursing facility must

 4   provide (or arrange for the provision of)-- . . . (ii) medically-related social services

 5   to attain or maintain the highest practicable physical, mental, and psychosocial

 6   well-being of each resident; . . . (v) an on-going program, directed by a qualified

 7   professional, of activities designed to meet the interest and the physical, mental,

 8   and psychosocial well-being of each resident.” 42 U.S.C. § 1396r(b)(4)(A)(ii) and

 9   (v).

10          District and circuit courts are split as to whether this language in section

11   1396r(b) is phrased with an intent to benefit the nursing facility residents. The

12   courts that have held that section 1396r(b) creates enforceable rights have found

13   that the “provisions are obviously intended to benefit Medicaid beneficiaries and

14   nursing home residents, not the nursing home themselves.” Grammer v. John J.

15   Kane Reg’l Ctrs.-Glen Hazel, 570 F.3d 520, 527 (3d Cir. 2009). Even though the

16   subjects of the phrases themselves are nursing facilities, several courts have held

17   that the provisions of section 1396r(b) are “obviously intended to benefit Medicaid

18   beneficiaries.” Concourse Rehab. & Nursing Ctr. Inc. v. Whalen, 249 F.3d 136,

19   144 (2d Cir. 2001).

20          Other courts have held that the language of section 1396r(b) “is exactly the

21   sort of broad aggregate or systemwide policy and practice statement” that does not


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 1   intentionally benefit nursing home residents or receivers of Medicaid. Sanguinetti

 2   v. Avalon Health Care, Inc., No. 1:12-CV-0038 AWI SKO, 2012 WL 2521536, at

 3   *5 (E.D. Cal. June 28, 2012) (quotations omitted). According to these courts, the

 4   directives in section 1396r “are intended to direct the efforts of the facilities” rather

 5   than conferring “a right on patients that can be vindicated by way [of] section

 6   1983.” Id. Applying Gonzaga and Blessing to section 1396r(b), some courts have

 7   found that section 1396r(b) focuses on the persons regulated (nursing facilities)

 8   rather than the persons benefited (nursing facility residents) and, thus, is

 9   unenforceable through section 1983. Hawkins v. Cty. of Bent, Colo., 800 F. Supp.

10   2d 1162, 1167 (D. Colo. 2011).

11         The section 1396r(b) provisions that Ms. Shanklin is attempting to enforce

12   in this case are all phrased in terms of what the nursing facilities must do, rather

13   than the protections that the patients must receive. 42 U.S.C. § 1396r(b). Because

14   the nursing facilities are the subjects of the provisions in question, the provisions

15   are not “phrased in terms of the persons benefited” and do not afford individual

16   rights to nursing facility patients. Cannon, 441 U.S. at 693 n.13. While the

17   provisions mention the nursing facility residents and the benefits that they should

18   receive from the nursing facilities, such as the “maintenance or enhancement of the

19   quality of life of each resident,” the facilities’ placement as the subject of the

20   provisions, along with the fact that the FNHRA was passed under Congress’s

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 1   spending power, show that Congress did not intend to confer individual rights with

 2   the FNHRA’s language.

 3         Ms. Shanklin argues that this Court should follow the reasoning from

 4   Rolland and Dunakin. ECF No. 21 at 21–28. In Rolland, the First Circuit held that

 5   several provisions of the FNHRA created individual rights enforceable through

 6   section 1983, including provisions under sections 1396r(b), 1396r(c), and 1396r(e).

 7   Rolland v. Romney, 318 F.3d 42, 53 (1st Cir. 2003). In Dunakin, the Western

 8   District of Washington held that certain provisions under section 1396r(e) were

 9   enforceable through section 1983. Dunakin v. Quigley, 99 F. Supp. 3d 1297, 1316

10   (W.D. Wash. 2015). However, these two cases differ from this case because the

11   courts mainly analyzed section 1396r(e) as opposed to 1396r(b). Rolland, 318

12   F.3d at 53; Dunakin, 99 F. Supp. 3d at 1316; see also Blessing, 520 U.S. at 342

13   (holding that courts should focus their private rights analysis on “specific statutory

14   provision[s]”). To any extent that these cases found that section 1396r(b) confers

15   enforceable individual rights, the Court rejects their analyses.

16         Ms. Shanklin also urges this Court to adopt the reasoning of the Grammer

17   court. ECF No. 21 at 22. In Grammer, the Third Circuit held that section

18   1396r(b), and the entire FNHRA, is “replete with rights-creating language,” and is

19   thus enforceable through section 1983. Grammer, 570 F.3d at 529. However, the

20   Grammer Court stated that it was “not concerned that the provisions . . . are

21   phrased in terms of responsibilities imposed on the state or the nursing home.” Id.


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 1   at 530. The Grammer holding is inconsistent with the Supreme Court’s holding in

 2   Gonzaga, and previously in Cannon, that a statute creating enforceable rights

 3   “must be phrased in terms of the persons benefited.” Gonzaga, 536 U.S. at 274

 4   (citing Cannon, 441 U.S. at 692 n.13). While the residents are certainly benefited

 5   by the FNHRA, those benefits or interests are not enforceable through section 1983

 6   because the statute is not phrased with an intent to benefit the residents. Id. (“[I]t

 7   is rights, not the broader or vaguer ‘benefits’ or ‘interests,’ that may be enforced.”

 8   (emphasis in original)). The language of section 1396r(b) does not satisfy the first

 9   Blessing factor. Therefore, the Court declines to follow Grammer.

10         Clear and Definite Right

11         The second Blessing factor is that the right protected by the statute is “not so

12   vague and amorphous that its enforcement would strain judicial competence.”

13   Blessing, 520 U.S. at 340–41. Courts that have found an enforceable right under

14   section 1396r(b) have said that the rights are “clearly delineated by the provisions”

15   because “[t]he repeated use of the phrases ‘must provide,’ ‘must maintain’ and

16   ‘must conduct’ are not unduly vague or amorphous such that the judiciary cannot

17   enforce the statutory provisions.” Grammer, 570 F.3d at 528. Courts that have not

18   found an enforceable right in the FNHRA have held that its provisions refer only to

19   “generalized, vague, amorphous quality-of-life interests that are insufficiently

20   definite to be justiciable.” Kalan v. Health Ctr. Comm’n of Orange Cty., Va., 198

21   F. Supp. 3d 636, 645 (W.D. Va. 2016).


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 1         It is unclear how Ms. Shanklin’s FNHRA claim would be proven or

 2   disproven if this case were to proceed to trial. For example, under one provision

 3   that Ms. Shanklin wishes to enforce, a nursing facility must “promote maintenance

 4   or enhancement of the quality of life of each resident.” 42 U.S.C. §

 5   1396r(b)(1)(A). Under another provision, a nursing facility must provide

 6   “medically-related social services to attain or maintain the highest practicable

 7   physical, mental, and psychosocial well-being of each resident.” 42 U.S.C. §

 8   1396r(b)(4)(A)(ii). Enforcing these provisions would strain judicial competence,

 9   as it is unclear what standards the Court would use to evaluate whether Defendants

10   violated Mr. Shanklin’s right to “quality of life” or “the highest practicable

11   physical, mental, and psychosocial well-being.” The provisions that Ms. Shanklin

12   wants to enforce are filled with subjective language without clear standards for the

13   Court or the jury to evaluate in a potential trial.

14         The Grammer court found that the second Blessing factor was met because

15   of the “repeated use of the phrases ‘must provide,’ ‘must maintain’ and ‘must

16   conduct’” throughout the statute. Grammer, 570 F.3d at 528. But this analysis is

17   more appropriate in the third Blessing factor, which asks whether the statute

18   unambiguously binds the states. Blessing, 520 U.S. at 341.

19         Even if the FNHRA included rights-creating language that intended to

20   benefit nursing facility residents like Mr. Shanklin, the Court finds that those rights

21   are too vague or amorphous to be enforced through section 1983 litigation. The


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 1   Court finds that section 1396r(b) does not pass the Blessing test’s first or second

 2   elements. The Court finds that section 1396r(b) is not enforceable through section

 3   1983, and therefore is not a claim upon which relief can be granted. The Court

 4   dismisses Ms. Shanklin’s FNHRA claim with prejudice.

 5   State Law Claims

 6         Defendants argue that the Court should dismiss the state law claims upon

 7   dismissal of the FNHRA claim as a matter of discretion. ECF No. 15 at 17; 28

 8   U.S.C. § 1367(c). Ms. Shanklin’s other claims are all state law claims over which

 9   the Court would have to exercise supplemental jurisdiction. ECF No. 1 at 11–14.

10   Ms. Shanklin wants the Court to maintain supplemental jurisdiction over her state

11   law claims. ECF No. 21 at 31.

12         A district court has supplemental jurisdiction over claims that “form part of

13   the same case or controversy” of claims over which a district court has original

14   jurisdiction. 28 U.S.C. § 1367(a). However, if a district court dismisses all claims

15   over which it has original jurisdiction, the court “may decline to exercise

16   supplemental jurisdiction” over the remaining claims. 28 U.S.C. § 1367(c)(3). If all

17   original jurisdiction claims are dismissed before trial, it is common practice to

18   decline to exercise jurisdiction over any remaining state law claims. See Acri v.

19   Varian Assocs., Inc., 114 F.3d 999, 1001 (9th Cir. 1997).

20         Because the Court no longer has original jurisdiction over Ms. Shanklin’s

21   claims, the Court finds no basis to exercise supplemental jurisdiction over her


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 1   remaining state law claims. See 28 U.S.C. § 1367(c)(3); Acri, 114 F.3d at 1001.

 2   Therefore, Ms. Shanklin’s state law claims are dismissed without prejudice for lack

 3   of subject matter jurisdiction.

 4         Accordingly, IT IS HEREBY ORDERED:

 5         1.        Defendants’ Motion to Dismiss, ECF No. 15, is GRANTED.

 6         2.        Plaintiff’s 42 U.S.C. § 1983 claim under the Federal Nursing Home

 7   Reform Amendments, 42 U.S.C. § 1396 et seq., is DISMISSED with prejudice.

 8         3.        Plaintiff’s state law claims are DISMISSED without prejudice.

 9         4.        All pending motions are DENIED as moot. All pending hearing dates

10   are stricken.

11         5.        Judgment shall be entered in favor of Defendants.

12         IT IS SO ORDERED. The District Court Clerk is directed to enter this

13   Order, provide copies to counsel, and close this case.

14         DATED April 15, 2019.

15
                                                   s/ Rosanna Malouf Peterson
16                                              ROSANNA MALOUF PETERSON
                                                   United States District Judge
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     ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS ~ 16
